            Case 5:05-cr-00641-RMW          Document 47        Filed 03/16/06     Page 1 of 2



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10                           IN THE UNITED STATES DISTRICT COURT
11                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                                                         *E-FILED - 3/16/06*
     UNITED STATES OF AMERICA,           )               No. CR 05-00641-RMW
13                                       )
                         Plaintiff,      )
14                                       )               ORDER AFTER HEARING
                 v.                      )               EXCLUDING TIME UNDER THE
15                                       )               SPEEDY TRIAL ACT
     YE TENG WEN,                        )
16         aka Michael Wen, and          )
     HAO HE,                             )
17         aka Kevin He,                 )
                                         )
18                       Defendants.     )
     ____________________________________)
19
20          On March 13, 2006, the above-captioned case came on for a status conference hearing.
21   Defendant Ye Teng Wen, who was present, was represented by defense attorney Vicki Young,
22   and defendant Hao He, who was present, was represented by defense attorney Richard Pointer.
23   The United States was represented by Assistant U.S. Attorneys Mark L. Krotoski and Matthew
24   A. Lamberti.
25          At the hearing, the Court set a status conference for April 3, 2006 at 9:00 a.m. The
26   parties agreed and the Court independently found that time should be excluded under the Speedy
27
     ORDER AFTER HEARING EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
28   CR 05-00641-RM W
              Case 5:05-cr-00641-RMW             Document 47        Filed 03/16/06      Page 2 of 2



 1   Trial Act from March 13, 2006 through and until April 3, 2006, to allow counsel time to prepare
 2   for trial and for continuity of counsel, pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(iv)
 3   (reasonable time necessary for effective preparation taking into account the exercise of due
 4   diligence and continuity of counsel).
 5              Specifically, the ends of justice served by the granting of such continuance outweigh the
 6   best interests of the public and the defendant in a speedy trial, after considering the relevant
 7   factors:
 8   (i)        The failure to grant such a continuance in the proceeding would be likely to result in a
 9              miscarriage of justice since the defense has requested additional time to review evidence
10              with the view toward a plea resolution, particularly given the substantial amount of
11              discovery provided or made available for review (including approximately 28 pallets of
12              evidence obtained in the case and which the defense has reviewed on one occasion in a
13              warehouse).
14     (ii)     The failure to grant such a continuance would deny counsel for the defendant reasonable
15              time necessary for effective preparation, taking into account the exercise of due diligence;
16   (iii)      The request for the exclusion of time is reasonable and specifically limited in time until
17              April 3, 2006, after allowing time for reasonable time for investigation and preparation.
18   (iv)       The request provides for continuity of counsel as one defense counsel had a court conflict
19              on an earlier proposed date for the next hearing.
20              For the foregoing reasons, the ends of justice served by the granting of such continuance
21   outweigh the best interests of the public and the defendant in a speedy trial, and given that the
22   defense needs reasonable time necessary for effective preparation, and for the continuity of
23   counsel, taking into account the exercise of due diligence. 18 U.S.C. S 3161(h)(8)(A).
24              This written order memorializes the oral rulings of the Court made on March 13, 2006.
25                 16 2006
     Dated: March __,
26
27                                                                     /S/ RONALD M. WHYTE
                                                                      _________________________
                                                                      RONALD M. WHYTE
28                                                                    United States District Judge



     ORDER AFTER HEARING EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
     CR 05-00641-RM W
